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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                            )
                                                        )
 9                                 Plaintiff,           )   Case No. CR05-452-RSM
                                                        )
10                          v.                          )   PROPOSED FINDINGS OF FACT
                                                        )   AND DETERMINATION AS TO
11 ANTHONY EDWARDS,                                     )   ALLEGED VIOLATIONS OF
                                                        )   SUPERVISED RELEASE
12                                 Defendant.           )

13                                              INTRODUCTION

14       I conducted a hearing on alleged violations of supervised release in this case on January 24,

15 2011. The defendant appeared pursuant to a warrant issued in this case. The United States was

16 represented by Andrew Friedman, and defendant was represented by Lee Covell. Also present

17 was U.S. Probation Officer Thomas Fitzgerald. The proceedings were digitally recorded.

18                                 SENTENCE AND PRIOR ACTION

19       Defendant was sentenced on September 8, 2006 by the Honorable Ricardo S. Martinez for

20 Conspiracy to Commit Bank Fraud and to Misrepresent Social Security Numbers, and Bank

21 Fraud. He received 18 months of detention and 5 years of supervised release.

22       On May 27, 2008, due to Mr. Edwards’ consumption of marijuana, a violation report was

23 submitted to the Court. No action was recommended and approved.


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1       On January 9, 2009, the Court modified Mr. Edwards’ conditions to include 120 days of

 2 location monitoring. L The modification was in response to the new theft charges and alleged

 3 marijuana use.

 4       On March 23, 2009, in response to alleged marijuana use, the Court approved no action be

 5 taken.

 6       On April 3, 2009, in response to allegations of marijuana use, a violation report and request

 7 for warrant was submitted to the Court. At His initial appearance on April 7, 2009, Mr. Edwards

 8 denied the allegations and he was released on bond pending an evidentiary hearing. On June 17,

 9 2010, prior to the scheduled evidentiary hearing, the probation office recommended that he

10 violations be withdrawn and dismissed with no further action. The Court concurred on June 17,

11 2009 and the hearing was stricken.

12                              PRESENTLY ALLEGED VIOLATIONS

13       In a petition dated August 9, 2010, U.S. Probation Officer Thomas Fitzgerald alleged that

14 defendant violated the following conditions of supervised release:

15       1.       Being a felon in possession of a firearm on May 18, 2010, a violation of federal,

16 state, and/or local law, in violation of his mandatory condition of supervised release that he not

17 commit another local, state, and/or federal crime.

18       2.       Possessing a firearm on May 18, 2010, in violation of the mandatory condition of

19 supervised release that he not possess a firearm, ammunition, destructive device or other

20 dangerous weapons.

21       3.       Possessing marijuana on May 18, 2010, in violation of standard condition No. 7 of

22 his supervised release.

23


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1                      FINDINGS FOLLOWING EVIDENTIARY HEARING

 2       The government presented testimony and exhibits. After considering all of the evidence

 3 presented and hearing the parties’ argument, the Court found the government had proven each of

 4 the violations. Defendant was informed the matter would be set for a disposition hearing

 5 February 4, 2011 at 3:00 p.m. before District Judge Ricardo S. Martinez.

 6                       RECOMMENDED FINDINGS AND CONCLUSIONS

 7       Based upon the foregoing, I recommend the court find that defendant has violated the

 8 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 9       DATED this 24th day of January, 2011.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
